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                      IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF MISSISSIPPI
                               ABERDEEN DIVISION

 TYRESE QUINN                                                                            PLAINTIFF

 VS.                                               CIVIL ACTION NO.: 1:21-cv-00162-SA-DAS

 WEBSTER COUNTY, ET AL.                                                              DEFENDANTS

         AGREED RULE 54(B) JUDGMENT OF DISMISSAL WITH PREJUDICE
                WITH RESPECT TO MUNICIPAL DEFENDANTS

        Plaintiff Tyrese Quinn and Municipal Defendants the City of Eupora, Mississippi and

Gregg Hunter (“Municipal Defendants”) have agreed to and announced to the Court a confidential

settlement of this case, and, the Court, being advised that the parties have an informed

understanding of their rights and a full appreciation of the consequences of the confidential

settlement, is desirous that Municipal Defendants be dismissed from this action.

        IT IS, THEREFORE, ORDERED AND ADJUDGED that Municipal Defendants are

hereby DISMISSED WITH PREJUDICE, with the parties to bear their own costs. Pursuant to the

confidential agreement of the parties, the Court will retain jurisdiction for the purpose of enforcing

the confidential settlement agreement.

        SO ORDERED AND ADJUDGED, this the 2nd day of December 2022.



                                               /s/ Sharion Aycock
                                               UNITED STATES DISTRICT JUDGE


APPROVED AS TO FORM AND CONTENT:


/s/ Carlos E. Moore                            /s/ G. Todd Butler
CARLOS E. MOORE                                G. TODD BUTLER
ATTORNEY FOR PLAINTIFF                         ATTORNEY FOR MUNICIPAL DEFENDANTS
